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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


BATTLE BORN INVESTMENTS
COMPANY, LLC,

               Plaintiff,

       v.                                                  Civil Action No. 24-0067 (BAH)

UNITED STATES DEPARTMENT OF
JUSTICE,

               Defendant.


                  DEFENDANT’S MOTION FOR EXTENSION OF TIME
                    TO FILE MOTION FOR SUMMARY JUDGMENT

       The United States Department of Justice (“Defendant” or “Department”), parent agency of

the Executive Office for United States Attorneys (“EOUSA”), through undersigned counsel,

respectfully moves for a two-week extension to file its motion for summary judgment. Currently,

Defendant’s deadline to move for summary judgment is Friday, June 7, 2024. Defendant seeks a

new proposed deadline of Friday, June 21, 2024. Defendant’s counsel and Plaintiff’s counsel have

conferred, and Plaintiff opposes this motion.

       “When an act may or must be done within a specified time, the court may, for good cause,

extend the time . . . if a request is made before the original time or its extension expires.” Fed. R.

Civ. P. 6(b)(1). “A schedule may be modified only for good cause and with the judge’s consent.”

Fed. R. Civ. P. 16(b)(4). “District courts enjoy broad discretion when deciding case management

and scheduling matters.” McGehee v. Dep’t of Just., 362 F. Supp. 3d 14, 18 (D.D.C. 2019).

       This action was filed under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. § 1331. See Complaint, ECF No. 1. Plaintiff
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has requested copies of records and documents showing: (1) the name of the person who signed a

Consent and Agreement to Forfeiture with the U.S. Attorney’s Office, Northern District of

California, on or about November 3, 2020, concerning a cryptocurrency wallet referred to as 1HQ3

in United States v. Approximately 69,370 Bitcoin, et al., Case No. 3:20-cv-7811-RS (N.D. Cal.);

(2) the name of any person believed to have owned, possessed, or controlled that wallet; and (3)

the name of the person referred to as “Individual X” in that case. The parties have conferred and

agree that at issue is one document, the November 3, 2020, Consent and Agreement to Forfeiture

referenced above. Defendant is currently withholding that document under various exemptions.

        “In a FOIA case, the burden of proof is always on the agency to demonstrate that it has

fully discharged its obligations under the FOIA.” McKinley v. FDIC, 756 F. Supp. 2d 105, 111,

(D.D.C. 2010). And “to enable the Court to determine whether documents properly were withheld,

the agency must provide a detailed description of the information through a so-called ‘Vaughn

index,’ sufficiently detailed affidavits or declarations, or both.” Id at 113. Accordingly, to sustain

the Agency’s burden of proof, a declaration is required.

       Defendant requests this extension for the Agency to complete and finalize the required

declaration, which includes time for the U.S. Attorney’s Office to review it. A declaration is

necessary because the information at issue here falls squarely under numerous FOIA exemptions.

Undersigned is communicating with the Agency about the importance of meeting the Court’s

deadline and expects to be able to move for summary judgment after a two-week extension.

       For the reasons stated above, Defendant moves for a two-week extension to file its

summary judgment motion by Friday, June 21, 2024.




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Date: June 4, 2024                   Respectfully submitted,
      Washington, DC
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                                     United States Attorney

                                     BRIAN P. HUDAK
                                     Chief, Civil Division

                                     By:        /s/ Sam Escher
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